
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a2476-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a2746-15.pdf (transposed characters)
/attorneys/assets/opinions/appellate/unpublished/a2467-15.pdf (transposed characters)
/attorneys/assets/opinions/appellate/unpublished/a2416-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2446-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2456-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a0476-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2466-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1476-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2076-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2471-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2474-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2496-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a2576-15.pdf (mistyped character)


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